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                                No. 3:23-cv-00726-S



                                        IN THE

                           UNITED STATES DISTRICT COURT

                       FOR THE NORTHERN DISTRICT OF TEXAS




                            In re James D. Dondero et al.,

                                     Petitioners.



                      On Petition For Writ Of Mandamus To The

            United States District Court For The Northern District Of Texas

                        (Bankruptcy Case No. 19-34054-sgj11)



             REPLY IN SUPPORT OF PETITION FOR WRIT OF MANDAMUS



                               Michael J. Lang
                     CRAWFORD WISHNEW & LANG, PLLC
                         1700 Pacific Ave., Suite 2390
                             Dallas, Texas 75201

                              (214) 817-4500 telephone

                            ATTORNEYS FOR PETITIONERS
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I.      INTRODUCTION

        Although mandamus is an extraordinary remedy, this is an extraordinary case. The

bankruptcy of Highland Capital Management, L.P. (“HCMLP”) has spawned nearly four years of

acrimonious litigation, largely fueled by a presiding judge who chose sides early in the case and

has at every step reinforced that choice, regardless of the facts, the law, or basic fairness. Petitioners

have borne the brunt of the Court’s ire, which has and continues to negatively impact Petitioners’

rights. That is a problem with no immediate solution, making mandamus relief imperative. The

Court should grant the Petition.

II.     FACTUAL BACKGROUND 1

        A.       HCMLP Mischaracterizes the Factual Record

        As has become the norm in this case, HCMLP devotes much of its Response to accusing

Dondero of various supposed wrongs, none of which are relevant to the question of whether Chief

Judge Stacey G.C. Jernigan is (or at the very least, appears to be) hopelessly biased such that

recusal is appropriate. Nonetheless, for the sake of clarifying the record, Petitioners will address

HCMLP’s material distortions.

        HCMLP argues that Petitioner James D. Dondero (“Dondero”) is a bad actor who

repeatedly took actions adverse to the estate and its creditors. That is false. Indeed, for a period of

over one year after HCMLP filed its bankruptcy petition, Dondero did not take any action in the

bankruptcy, other than voluntarily resigning his position as CEO in favor of the appointment of an

independent board. 2 And when Dondero finally did participate in the bankruptcy proceedings, he


1
  Unless otherwise specified, all references to “Dkt.” are to the docket in the bankruptcy proceedings of HCMLP, Case
No. 19-34054 (Bankr. N.D. Tex.), available at https://kccllc.net/hcmlp.
2
  In the first year after the bankruptcy filing, Dondero filed only four pleadings: a limited response to a motion by
creditor Acis for relief from the automatic stay, in which Dondero merely asked that the Court decide the motion
before permitting litigation to go forward (Dkt. 617); an objection to Acis’s proof of claim and joinder in HCMLP’s
similar objection (Dkt. 827; see also Dkt. 771); a response to the Unsecured Creditor Committee’s motion to compel
production by HCMLP, in which Dondero notified the Court that certain materials to be produced might be protected


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did so to protect the estate’s assets. For example, when Dondero learned that HCMLP’s Chief

Executive and Chief Restructuring Officer, James P. Seery (“Seery”), was divesting sizeable assets

in non-ordinary course transactions without engaging in a competitive bidding process or even

notifying the Court or creditors, he filed a motion seeking to require notice and a hearing prior to

future non-ordinary course transactions. Dkt. 1439. Petitioners Dondero and The Dugaboy

Investment Trust (“Dugaboy”) also sought the appointment of an independent examiner prior to

confirmation of HCMLP’s Fifth Amended Plan of Reorganization (“Plan”) to ensure that creditors

and other stakeholders had adequate access to financial information to meaningfully participate in

the plan confirmation process. Dkts. 1745, 1756. Like virtually every other motion filed by

Dondero or entities affiliated with him in HCMLP’s lengthy bankruptcy proceedings, Judge

Jernigan rejected that motion (and refused to even hear it prior to Plan confirmation, ensuring it

would become moot). Dkt. 1960, ¶¶ 4-6, 9.

        Judge Jernigan’s bias has allowed HCMLP to run roughshod over the bankruptcy process,

leading to countless problems. Although HCMLP came into bankruptcy a solvent entity (with

approximately $550 million in assets and seeking to restructure approximately $110 million in

claims), under the leadership of Seery, HCMLP awarded creditors (whose claims it initially

vigorously objected to) inflated allowed claims of approximately $390 million, sold the majority

of those claims to buyers with close, personal ties to Seery for $160 million, caused a litigation

trustee to launch expensive litigation against Petitioners and others while knowing the estate was

solvent, and ultimately liquidated (for approximately $750 million) what should have been a

viable, reorganized enterprise at the close of Chapter 11 proceedings. See, e.g., Dkt. 3699 (detailing



by the attorney-client privilege; and a response to HCMLP’s motion seeking approval of its settlement with Acis, in
which Dondero merely asked the Court to independently review the fairness of the settlement in view of HCMLP’s
prior vehement objection to Acis’s proof of claim (Dkt. 1121).


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problems with claims trades in bankruptcy); Dkt. 3778 (detailing problems with financial

disclosures in bankruptcy, claims inflation, and other bankruptcy mismanagement). Facing a Court

that disregards everything they say, Petitioners have never been able to rectify these wrongs.

        Now, many years later, Petitioners and others aligned with them face a much different

problem: Judge Jernigan appears content to allow HCMLP and its professionals to run up costs

while retaining hundreds of millions of dollars to fulfill speculative, future “indemnity” obligations

to the very people charged with efficiently administering the bankruptcy and paying creditors in

full. See Dkt. 4000 (describing the problem in detail). All the while, Judge Jernigan has adopted

HCMLP’s anti-Dondero narrative, even embracing negative language used by HCMLP and its

professionals and repeating that language to justify the Court’s actions. See, e.g., Dkt. 3571

(recounting in detail various attacks on Dondero, his perceived affiliates, and his counsel).

        B.       Petitioners’ Persistence in Seeking Recusal (and the Various Roadblocks
                 Imposed on that Effort) Only Demonstrate That Petitioners Need Emergency
                 Mandamus Relief 3

        HCMLP also spends pages of its Response recounting the efforts by Petitioners to recuse

Judge Jernigan. But those efforts only underscore the point: notwithstanding Judge Jernigan’s

appearance of bias and the mandatory language of the statute governing recusal, the Judge

continues to preside over the HCMLP bankruptcy proceedings and continues to exhibit blatant

animus toward Petitioners.

        It is true that Petitioners have been forced to file multiple pleadings in an effort to obtain

serious judicial consideration of the myriad instances of bias against them infecting the bankruptcy

proceedings. Judge Jernigan denied the first motion without objective consideration of the


3
 Petitioners incorporate as if fully stated herein their Memorandum of Law in Support of Renewed Motion to Recuse,
Dkt. 3542; Reply in Support of Amended Renewed Motion to Recuse, Dkt. 3623; Amended Reply in Support of
Amended Renewed Motion to Recuse, Dkt. 3648; and Supplemental Memorandum of Law in Support of Amended
Renewed Motion to Recuse, Dkt. 3676.


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evidence of bias presented (as was required); she merely concluded that, in her subjective opinion,

she was not biased. See Dkt. 2083 at 10. When Petitioners attempted to obtain appellate review of

Judge Jernigan’s decision, Judge Kinkeade concluded that recusal order was not final and refused

to reach the merits of the appeal. See Dondero v. Jernigan, No. 3:21-cv-00879-K, Dkt. 39. By the

time Judge Kinkeade dismissed Petitioners’ appeal, there were many new examples of bias

supporting recusal. As a result, Petitioners renewed their effort to recuse Judge Jernigan and sought

to supplement the record supporting recusal. Dkt. 3470. After chastising Petitioners’ counsel at

length for “carpet bombing” the Court with paper, Judge Jernigan rejected Petitioners’ effort and

directed Petitioners to file yet another pleading if they wanted an appellate court to consider

supplemental evidence. Dkt. 3479 at 3; see also Dkt. 3571 at 2 & Ex. U. Petitioners did as

instructed. See Dkts. 3541, 3571. In response to this third effort, Judge Jernigan issued a lengthy

order denying the motion. In that order, Judge Jernigan denied Petitioners’ allegations of bias,

again based on her subjective belief that she is not biased, deemed the motion untimely (although

it was the culmination of years of effort to obtain the requested relief), and yet failed to directly

address most of the examples of bias raised by Petitioners. Dkt. 3676; see also Petition at 15-23. 4

In short, notwithstanding Petitioners’ lengthy effort to obtain recusal, no judge other than the one

being accused of bias has yet considered Petitioners’ arguments on the merits.

II.        ARGUMENT

           A.          Mandamus Is the Appropriate Remedy

                       1.    Dondero established a clear right to relief and a duty to recuse.

           Section 455(a) requires that any judge “shall disqualify himself in any proceeding in which

his impartiality might reasonably be questioned.” Section 455(b)(1) provides that the judge “shall



4
    Dkt. 3676 at 15.


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also disqualify himself ... [w]here he has a personal bias or prejudice concerning a party....” 28

U.S.C. § 455 (emphases added). There is more than enough evidence to mandate Judge Jernigan’s

recusal under these standards.

       Indeed, HCMLP does not even address the very serious allegations of bias raised in

Petitioners’ mandamus petition and recounted in their prior motions to recuse (which are too

voluminous to recount). To summarize:

           •   Judge Jernigan admitted that she formed early negative opinions about Dondero
               based on her experience in the prior bankruptcy proceedings of HCMLP creditor
               Acis. Petition at 3-4.

           •   Judge Jernigan has repeatedly accused Petitioners and their counsel of acting in
               “bad faith” and has repeatedly threatened Petitioners and their counsel with
               sanctions (or awarded sanctions when HCMLP asked the Court to do so), leading
               HCMLP to use the threat of sanctions as a sword against Petitioners. Id. at 5-8.

           •   Judge Jernigan has repeatedly labeled Dondero “vexatious,” notwithstanding that
               he played an extraordinarily limited role in the bankruptcy proceedings prior to Plan
               confirmation and has largely been in the position of defending himself and his
               affiliates. Id. at 8-9.

           •   Judge Jernigan has sua sponte recommended that HCMLP take actions adverse to
               Petitioners in a manner seemingly designed to curtail their access to the courts. Id.
               at 9.

       Finally, during the bankruptcy proceedings, Judge Jernigan authored two novels featuring

a villainous hedge fund manager fitting the description of Dondero, in which she sharply criticizes

the hedge fund industry (and specifically hedge fund managers like Dondero) and also criticizes

the very financial products managed by HCMLP.

       Numerous news outlets have written about Petitioners’ effort to recuse Judge Jernigan,

illustrating that objective observers “question Judge Jernigan’s impartiality in presiding over

bankruptcy cases involving Dondero’s hedge funds.” See, e.g., Erin Mulvaney, Judge’s Fictional

Thriller Sparks Real-Life Courtroom Drama, WALL STREET JOURNAL (July 29, 2023) (quoting law

professor Steve Leben, who opined that Judge Jernigan should be recused); Renegade Texas Judge


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Who Faced Calls for Recusal Now Entangled in Insider Trading Allegations, RADAR ONLINE

(Sept. 9, 2023) (same); Bench Report Newsletter: Should This Judge Recuse?/Long-Pending

Appellate Nominee Confirmed, LAW.COM (July 21, 2023) (quoting Indiana law professor Charles

Geyh as saying that Judge Jernigan should be disqualified because “a reasonable person could

conclude that she holds Dondero and the hedge fund industry in low regard”); Kevin Eckhardt,

Court Opinion Review: Delaware VC Knocks Out Spurious (Nonbankruptcy) Releases, Vertical

Gifting Via 363 Sales, Mid-Market Madness in Houston and Judge Jernigan’s Novel Dilemma,

REORG (July 28, 2023) (commenting on Judge Jernigan’s novels and concluding: “Remember all

of our warnings about the tenuous legitimacy of the bankruptcy courts? This . . . doesn’t help.”).

Petitioners request the Court to take judicial notice of these articles, true and correct copies of

which are attached as Exs. 1-4 (App. 1-13). See Esquivel v. Fudge, No. 3:22-CV-0556-L, 2023 WL

5658338, at *7 (N.D. Tex. Aug. 31, 2023) (Lindsay, J.) (“A court has the power to take judicial

notice of the coverage and existence of newspaper and magazine articles, as well as the fact that

the market is aware of information contained in news articles.”).

       At a minimum, Petitioners have demonstrated that an objective observer might reasonably

question Judge Jernigan’s impartiality and Judge Jernigan had a clear duty to recuse herself.

               2.     Dondero also lacks any other adequate remedy.

       HCMLP argues that mandamus is improper because Petitioners should seek redress

through an ordinary appeal. Resp. at 14. That makes no sense. A party seeking review of an order

denying recusal has no adequate remedy available other than mandamus because “ordinary

appellate review following a final judgment is insufficient to cure the existence of actual or

apparent bias.” In re Mohammad, 866 F.3d 473, 475 (D.C. Cir. 2017). As Wright & Miller explain,

“[t]here are obvious difficulties . . . with the remedy of appeal after final judgment.” CHARLES

ALAN WRIGHT & ARTHUR R. MILLER, FEDERAL PRACTICE AND PROCEDURE § 3553 (3d ed.).


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Appellate review is an inadequate remedy because “[i]t comes after the trial and if prejudice exists

it has worked its evil and a judgment of it in a reviewing tribunal is precarious.” Id. (quoting Berger

v. U.S., 255 U.S. 22, 36 (1921)). Rather, mandamus is the proper means to review a “judge’s refusal

to recuse from a case pursuant to 28 U.S.C. § 455(a), where the judge’s impartiality might

reasonably be questioned.” In re Kensington Int’l Ltd., 353 F.3d 211, 219 (3d Cir. 2003); see also

In re Faulkner, 856 F.2d 716, 721 (5th Cir. 1988) (granting petition for writ of mandamus directing

trial court judge to recuse himself).

        Courts across the country recognize mandamus as the appropriate means to avoid the

appearance of partiality. Alexander v. Primerica Holdings, Inc., 10 F.3d 155, 163 (3d Cir. 1993)

(“Virtually every court of appeals has recognized the necessity and propriety of interlocutory

review of disqualification issues on petitions for mandamus to ensure that judges do not adjudicate

cases that they have no statutory power to hear.”). Mandamus makes sense: though appellate

“review after final judgment can (at a cost) cure the harm to a litigant, it cannot cure the additional,

separable harm to public confidence that section 455 is designed to prevent.” Id. (without

determining actual bias by trial judge, ordering reassignment of case where record sufficed to show

judge’s “impartiality may reasonably be questioned”).

        Though HCMLP complains that a writ of mandamus is an extraordinary, unwarranted

remedy, there is no other adequate remedy available to Petitioners. And the bankruptcy

proceedings are still ongoing, with numerous issues of importance being raised and fought by

Petitioners to this day. Waiting until the Bankruptcy Court closes the bankruptcy and all assets and

claims are disposed of and all disputes resolved would not suffice to cure the existence of actual

or apparent bias and, to the contrary, would presumably render Petitioners’ request for recusal

moot. Because Section 455 requires disqualification and prohibits a judge from presiding over a




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case where their impartiality might reasonably be questioned, mandamus is the appropriate means

by which to prevent a judge from adjudicating a case that they have no statutory power to hear.

Thus, a petition for writ of mandamus is the only appropriate remedy available to Petitioners.

         B.       Judge Jernigan’s Role as the Trier of Fact Only Heightens the Need to Recuse
                  to Avoid the Appearance of Impartiality

         HCMLP also argues that Judge Jernigan’s self-serving determination that she is unbiased

should be accorded “great weight.” Resp. at 15. However, the test under § 455(a) is not whether

Judge Jernigan believes she is capable of impartiality, but rather whether a reasonable person might

question the judge’s impartiality. Burke v. Regalado, 935 F.3d 960, 1054 (10th Cir. 2019). Judge

Jernigan’s declaration that she is not biased is irrelevant and deserves no weight.

         Moreover, HCMLP ignores that Judge Jernigan is the sole fact-finder in the ongoing

bankruptcy case, which only heightens the need to avoid the appearance of partiality. For example,

Judge Jernigan is set to rule upon: (1) Dugaboy’s Complaint to (I) Compel Disclosures About the

Assets of the Highland Claimant Trust and (II) Determine (A) Relative Value of Those Assets, and

(B) Nature of Plaintiffs’ Interest in the Claimant Trust (Dkt. 3778); (2) HCMLP’s Motion for (A)

“Bad Faith” Finding and (B) Attorneys’ Fees Against NexPoint Real Estate Partners LLC (f/k/a

HCRE Partners, LLC), in Connection with Proof of Claim 146 (Dkt. 3851); (3) Hunter Mountain

Investment Trust’s Motion for Leave to File Delaware Complaint against Seery (Dkt. ; and (4)

Dugaboy’s Motion to Preserve Evidence and Compel Forensic Imaging of James P. Seery, Jr.’s

iPhone (Dkt. 3802). 5 The Judge’s role as the fact-finder in these matters increases the risk that a

reasonable person would doubt her impartiality and indulge suspicions about the Court’s integrity.


5
  Although NexPoint Real Estate Partners LLC (“NPRE”) and Hunter Mountain Investment Trust (“HMIT”) are not
Petitioners, Judge Jernigan has concluded that those entities are marching to his orders or are controlled by him. See,
e.g., Dkt. 1943 at ¶ 16(d) (concluding NPRE is controlled by Dondero); Dkt. 3904 (devoting three pages of an order
to the question: “Is HMIT Really Dondero by Another Name?” and concluding it is). These conclusions (however ill-
founded or lacking in evidentiary support) make it much more likely that motions filed by NPRE and HMIT will be
decided against them, lending further to Judge Jernigan’s appearance of bias.


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        As set forth in the Petition, recusal is mandatory where a judge’s “impartiality might

reasonably be questioned.” Petition at 12. Recusal is required even if the judge is not actually

biased because the purpose of section § 455 “is to avoid not only partiality but also the appearance

of partiality.” Ligon, 736 F.3d at 123; see also In re Kensington, 353 F.3d at 220 (“the polestar is

impartiality and the appearance of impartiality”).

        Thus, the “view of the average, reasonable person is the standard for analysis as to whether

a judge shall disqualify himself or herself.” In re Faulkner, 856 F.2d at 720; see also Matter of

Cont’l Airlines, 981 F.2d 1450, 1462 (5th Cir. 1993) (holding bankruptcy judge’s failure to recuse

himself was reversible error). It does not matter if the judge at issue may have presided over the

case at issue for years; the standard remains the same. Alexander, 10 F.3d at 166 (“It is obviously

difficult to filter ... a judge’s conduct of a case through the prism of partiality when the proceedings

over which he has presided have been in progress for more than four years and have been

strenuously contested every step of the way by each of the parties…. Despite these considerations,

we are of the definite impression that the flavor imported to the record by the combination of the

factors we have discussed in this opinion requires reassignment of this case to another judge.”).

        The Fifth Circuit has held that even though the test “may not always be fair or even

accurate, it is still the standard that must be applied.” In re Faulkner, 856 F.2d at 721. The appellate

court reasoned that judges must “avoid[] even the appearance of impropriety whenever possible”

because “[p]eople who have not served on the bench are often all too willing to indulge suspicions

and doubts concerning the integrity of judges.” Id. (quoting Liljeberg v. Health Servs. Acquisition

Corp., 486 U.S. 847, 865 (1988)).

        It follows, then, that “concerns of judicial impartiality are heightened in the context of

bench trials.” I F G Port Holdings, L.L.C. v. Lake Charles Harbor & Terminal Dist., 82 F.4th 402,




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418 (5th Cir. 2023) (emphasis added). “When the judge is the actual trier of fact, the need to

preserve the appearance of impartiality is especially pronounced.” Id. (quoting Alexander, 10 F.3d

at 166). Moreover, where “the question of whether § 455(a) requires disqualification is a close one

the balance tips in favor of recusal.” Republic of Panama v. Am. Tobacco Co. Inc., 217 F.3d 343,

347 (5th Cir. 2000).

         The Petition and Petitioners’ underlying motions describe a litany of actions by Judge

Jernigan that would cause any reasonable person to doubt her impartiality. Indeed, Judge Jernigan’s

novels vilifying hedge funds and hedge fund managers while presiding over cases involving

Dondero, alone has created objective doubts about her impartiality. 6 But the bigger problem is that

Judge Jernigan’s appearance of bias continues to affect ongoing proceedings to the prejudice of

not just Petitioners but those entities that Judge Jernigan perceives to be connected to Dondero.

There is more than sufficient reason to believe that Judge Jernigan’s continuing role as the trier of

fact will cause objective observers to doubt her impartiality and, by extension, doubt the integrity

of the courts. Even were recusal a close call—which it is not—the balance tips in favor of recusal.

III.     CONCLUSION

         Judge Jernigan has been permitted to preside over these bankruptcy proceedings for far too

long, and to date, no unbiased judge has had the opportunity to consider the merits of Petitioners’

very serious allegations. As set forth in the Petition, courts have ordered judges recused in far less

egregious circumstances than those presented in this case. There can be no question that there is at

least the appearance of partiality, mandating recusal. Petitioners respectfully request that the Court

issue the mandamus relief requested and order the recusal of Judge Jernigan.



6
 Judge Jernigan’s failure to disclose the publication of those novels is another reason recusal is warranted. See I F G
Port Holdings, 82 F.4th at 418 (even where potential conflict itself did not require disqualification of judge, “it does
not follow that nondisclosure of that [conflict] is constitutionally permissible”).


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 Dated: January 22, 2024                            Respectfully submitted,

                                                    CRAWFORD, WISHNEW & LANG PLLC

                                                    By: /s/ Michael J. Lang
                                                    Michael J. Lang
                                                    Texas State Bar No. 24036944
                                                    mlang@cwl.law
                                                    1700 Pacific Ave, Suite 2390
                                                    Dallas, Texas 75201
                                                    Telephone: (214) 817-4500


                                CERTIFICATE OF SERVICE

       The undersigned certifies that on January 22, 2024, a true and correct copy of the above

and foregoing document was served on all parties of record via the Court’s e-filing system.

                                                    /s/ Michael J. Lang
                                                    Michael J. Lang




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